Case 2:23-cv-00576-JRG-RSP Document 26-1 Filed 01/29/24 Page 1 of 1 PageID #: 483




                                UNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF TEXAS
                                     MARSHALL DIVISION

   WARNER RECORDS, INC., et al.,

                  Plaintiffs,

          v.                                         Case No. 2:23-cv-00576-JRG-RSP

   ALTICE USA, INC., et al.,

                  Defendants.

                            ORDER GRANTING DEFENDANTS’
                             MOTION TO TRANSFER VENUE
                        TO THE EASTERN DISTRICT OF NEW YORK
                             PURSUANT TO 28 U.S.C. § 1404(a)

         Before the Court is the Motion to Transfer Venue to the Eastern District of New York

  Pursuant to 28 U.S.C. § 1404(a) brought by Defendants Altice USA, Inc. and CSC Holdings, LLC.

  After consideration of said motion and the briefing concerning the same, the Court is of the opinion

  that the motion should be GRANTED.

         IT IS HEREBY ORDERED that this matter shall be transferred to the United States District

  Court for the Eastern District of New York.
